AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                           Middle District of Tennessee

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.                                       )

                                                                                    Case Number:           3:16-00117-1
                     ROBERT F. ARNOLD                                      ) USM Number:                   24807-075

                                                                                    Thomas Dundon and James Thomas                     _
                                                                                    Defendant's Attorney
THE DEFENDANT:
® pleaded guilty to count(s) Two,                  and Thirteen of the Indictment
❑ pleaded nolo contendere to count(s)
  which was accepted by the court.
❑ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                            Offense Ended             Count
18 U.S.C. § 1343                Money and Property Wire Fraud                                                10/30/2013                     2
18 U.S.C. §§ 1343 and
1346                            Honest Services Fraud                                                       8/6/2014                         7
18 U.S.C. § 1951                Hobbs Act Extortion Under Color of Official Right                           4/1/2015                        13



       The defendant is sentenced as provided in pages 2 through                           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
❑ The defendant has been found not guilty on count(s)
DCount(s) 1,3,4,5,6,8,9,10,11 and 14                     ❑ is © are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        5/4/2017
                                                                        Date of Imposition of Judgment



                                                                                                 -------               --     -----------
                                                                        Signature of Judge




                                                                        Marvin E. Aspen, United States District Judge
                                                                        Name and Title of Judge


                                                                          5/5/2017




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AO 245B (Rev. 11/16) Judgment in Criminal Case
                      Sheet 2 — Imprisonment

                                                                                                         Judgment — Page      2   of   7
 DEFENDANT: Robert F, Arnold
 CASE NUMBER: 3:16-00117-1

                                                               IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
fifty (50) months on each of Counts Two, Seven, and Thirteen, with such counts to run concurrent with each other,




         ® The court makes the following recommendations to the Bureau of Prisons:
           -Credit for time served for this offense.
           -Incarceration at the Federal Correctional Institution in Memphis, Tennessee.



%,   , 1, ® The defendant is remanded to the custody of the United States Marshal,

         ❑    The defendant shall surrender to the United States Marshal for this district:
     '        ❑ at                                  ❑ a.m.       ❑ P.M.         on
              ❑    as notified by the United States Marshal.

         ❑    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              ❑    before 2 p.m. on

              ❑    as notified by the United States Marshal.

              ❑    as notified by the Probation or Pretrial Services Office,

                                                                    I.I ON It   I'1z
                                                                                 ll



I have executed this judgment as follows:




             Defendant delivered on                                                           to

at                                                    , with a certified copy of this judgment,



                                                                                                      UNITED STATES MARSHAL




                                                                                                   DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                       Judgment—Page   _3 of            7
DEFENDANT:                   Robert F. Arnold
CASE NUMBER:                 3:16-00117-1

                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
three years on each of Counts Two, Seven, and Thirteen, with such counts to run concurrent with each other.




                                                      MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain fi•om any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check t(applicable)
4.    ® You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
                                                                                                                                  et seq) as
5.    ❑ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.         You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release

                                                                                               Judgment—Page         4       of          7
DEFENDANT:
CASE NUMBER:

                                      STANDARD CONDITIONS OF SUPERVISION
BAs pant of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2. After initially reporting to the probation office, you will receive instructions fi•om the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.._ You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
T i You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
r.   doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
     was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
     tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12: If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date




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AO 24513(Rev, 11/16)   Judgment in a Criminal Case
                       Sheet 31) — Supervised Release

                                                                                              Judgment—Page   5 of
DEFENDANT:                  Robert F. Arnold
CASE NUMBER:                3:16-00117-1

                                          SPECIAL CONDITIONS OF SUPERVISION
1. The defendant is prohibited from owning, carrying or possessing firearms, destructive devices, or other dangerous
weapons.

2. The defendant shall cooperate in the collection of DNA as directed by the United States Probation Office.

3. The defendant shall pay restitution to Rutherford County, Tennessee, totaling $52,500, jointly and severally with
co-defendants Joe Russell II and Joe Vanderveer. Payments shall be submitted to the Cleric, United States District Court, 801
Broadway, Nashville, Tennessee 37203. If the defendant is incarcerated, payment shall begin under the Bureau of Prisons'
Inmate Financial Responsibility Program. Should there be an unpaid balance when supervision commences, the defendant
shall pay the remaining restitution at a minimum monthly rate of 10 percent of defendant's gross monthly income. No
interest shall accrue as long as Defendant remains in compliance with the payment schedule ordered. Pursuant to 18 U.S.C. §
3664(k), Defendant shall notify the court and United States Attorney of any material change in economic circumstances that
might affect ability to pay.

4: The defendant shall participate in a mental health program as directed by the United States Probation Office. The
defendant shall pay all or part of the cost of mental health treatment if the United States Probation Office determines the
defendant has the financial ability to do so or has appropriate insurance coverage to pay for such treatment.

5: The defendant shall furnish all financial records, including, without limitation, earnings records and tax returns, to the
United States Probation Office upon request.

6. The defendant shall not incur new debt or open additional lines of credit without prior approval of the United States
Probation Office until all monetary sanctions are paid.




f:,;




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AO 245B (Rev, 11/16) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties

                                                                                                      Judgment — Page       b     of
 DEFENDANT:                         Robert F. Arnold
 CASE NUMBER:                       3:16-00117-1

                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*               Fine                     Restitution
 TOTALS             $ 300,00                    $                              $                          $ 52,500.00


❑ The determination of restitution is deferred until                     An Amended Judgment in a Criminal Case (Ao 2450) will be entered
  after such determination,

❑ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S. C, § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

=-Name of Payee                               Total Loss**                     Restitution Ordered                      Priority or PercentaLre
 Rutherford County Finance
 Department                                             $52,500.00                          $52,500.00
 Historic Courthouse
 Suite 200
 Murfreesboro, TN 37130
 Re: Docket No. 3:16CR00117




 TOTALS                               $                 $52,500,00         $                $52,500.00

® Restitution amount ordered pursuant to plea agreement $             52,500.00            _

   "The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fiill before the
    fifteenth dayafter the date of theJ'ud
                                         g ment, pursuant to 18 U.S.C,3612
                                                                       §     (~~ All of the ppayment
                                                                                               Y       options
                                                                                                        p       on Sheet 6 may  Y be subject
                                                                                                                                         J
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0 ,The court determined that the defendant does not have the ability to pay interest and it is ordered that:
 h; .
      ❑ the interest requirement is waived for the    ❑ fine ❑ restitution,

    ❑ the interest requirement for the           ❑ fine       ❑ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

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AO 245B (Rev. 11/16) Judgment in a Criminal Case
                      Sheet 6 — Schedule of Payments

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    DEFENDANT:                  Robert F. Arnold
    CASE NUMBER:                3:16-00117-1

                                                         SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         ❑ Lump sum payment of $                                 due immediately, balance due

                ❑     not later than                                 , or
                ❑     in accordance with ❑ C,           ❑ D,        ❑ E, or [—] F below; or

 B         ® Payment to begin immediately (may be combined with                 ❑ C,         ❑ D, or       IFN F below); or

 C         ❑ Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

 D         ❑ Payment in equal                           (e,g., weekly, monthly, quarterly) installments of $                           over a period of
                              (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

JE         ❑ Payment during the term of supervised release will commence within                 (e,g„ 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
     'Al
F          ® Special instructions regarding the payment of criminal monetary penalties:
             If the Defendant is incarcerated, payment shall begin under the Bureau of Prisons' Inmate Financial
            Responsibility Program. Should there be an unpaid balance when supervision commences, the Defendant shall
1-ro        pay the remaining restitution in monthly installments in an amount recommended by the Probation Office and
            approved by the Court, but the minimum monthly rate shall not be less than 10 percent of Defendant's gross
            monthly income.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

'the def6ndant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
I

® Joint and Several

           Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
           and corresponding payee, if appropriate.
           Joe Russell II; 3:16-00017
'          Joe Vanderveer; 3:16-00017


❑          The defendant shall pay the cost of prosecution,

❑          The defendant shall pay the following court cost(s):

® The defendant shall forfeit the defendant's interest in the following property to the United States:

           Money Judgment in the amount of $66,790.00 in United States currency, as set forth in the Order of Forfeiture entered on May 5,
11 -       2017 (Docket Entry No. 198).
I;aymepts shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
    'st,' (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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